Case 3:16-cr-00130-N Document 298 Filed 03/29/17 Page 1 of 3 Page|D 785

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FoR THE NoRTHERN DIsTRICT oF TEXAS ` soaw§s:~§ die ,~
DALLAs DIvlsloN Fi:.»~

UNITED STATES OF AMERICA

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V. CAsE No. 3-16-CR-1§6‘_’l~hl_"7 fruitsa.,__,w_,l,..,s,s,_mmsm

MARIA GALLEGOS SALAS
A.K.A. MARIA GALLEGOS SANCHEZ

FACTUAL RESUME

ELEMENTS:
Supersedin g Information Count One
Conspiracy to Possess with Intent to Distn'bute and to Distribute
a Schedule II Controlled Substance
(21 U.S.C. §§ 84l(a)(l), 841 (b)(l)(B)(viii), 846)

First: That two or more persons, directly or indirectly, reached an agreement
to possess with intent to distribute and to distribute a controlled
substance;

Second: That the defendant knew of the unlawful purpose of the agreement

Third: That the defendant joined in the agreement willfully, that is with the
intent to further its unlawful purpose; and;

Fourth: That the overall scope of the conspiracy involved at least 50 grams or
more of a mixture or substance containing a detectable amount of
methamphetamine

M: That the defendant knew or reasonably should have known that the
scope of the conspiracy involved at least 50 grams or more of a
mixture or substance containing a detectable amount of
methamphetamine

MARIA GALLEGOS SALAS Factual Resume - Page 1 l
Contents of this page agreed to by MARIA GALLEGOS SALAS: (initial)

Case 3:16-cr-00130-N Document 298 Filed 03/29/17 Page 2 of 3 Page|D 786

STIPULATED FACTS:

The Defendant, MARIA GALLEGOS SALAS A.K.A. MARIA
GALLEGOS SANCHEZ, hereafter referred to as the defendant or MARIA
GALLEGOS SALAS, the defendant’s attorney, ROSE ROMERO, and the United
States of America agree that the following facts are true and correct and MARIA
GALLEGOS SALAS admits that:

She (MARIA GALLEGOS SALAS) conspired with DOMINGO
ARREOLA AVALOS, MATIAS MEDINA ALCALA, and others to prepare and
distribute methamphetamine

MARIA GALLEGOS SALAS now admits that on or about December 4,
2015, Domingo Arreola Avalos was intercepted over a Title III wire intercept
directing Matias Medina Alcala to prepare a kilogram of methamphetamine for
her. MARIA GALLEGOS SALAS also admits she paid $10,000 for this kilogram
of methamphetamine that came from DOMINGO ARREOLA AVALOS. MARIA
GALLEGOS SALAS admits she purchased methamphetamine from DOMINGO
ARREOLA AVALAOS and that a person she knows as MATIAS MEDINA-
ALACALA delivered the methamphetamine to her on at least one occasion.
Intercepted phone calls reveal that DOMINGO ARREOLA AVALOS told
MATIAS MEDINA ALCALA that he (DOMINGO ARREOLA AVALOS)
provided one kilogram of methamphetamine to MARIA GALLEGOS SALAS on a
weekly basis. MARIA GALLEGOS SALAS further admits the methamphetamine
she purchased was for distribution and that this offense occurred in the Northern
District of Texas. MARIA GALLEGOS SALAS acknowledges she was referred to
as “Guichita” and that she is also known as MARIA GALLEGOS SANCHEZ,

MARIA GALLEGOS SALAS now admits that beginning on or about
January l, 2015, and continuing through March 18, 2016, she did, in the Dallas
Division of the Northern District of Texas, and elsewhere, knowingly,
intentionally, and unlawfully, conspire with, DOMINGO ARREOLA AVALOS,
MATIAS MEDINA ALCALA and others, both known and unknown, to possess
with intent to distribute and to distribute 50 grams or more of a mixture or
substance containing a detectable amount of methamphetamine

MARIA GALLEGOS SALAS Factual Resume - Page 2
Contents of this page agreed to by MARIA GALLEGOS SALAS: (initial)

 

Case 3:16-cr-OOl30-N Document 298 Filed 03/29/17 Page 3 of 3 Page|D 787

MARIA GALLEGOS SALAS further admits and understands that this
factual resume is not intended to be a complete accounting of all the events that
occurred. Rather this statement is limited to showing that a factual basis exists to

support MARIA GALLEGOS SALAS’S plea of guilty.

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AGREED To AND sIGNED this Z: day of 20 [ 2 . ,

JOHN R. PARKER
UNIT D STATES ATTORNEY

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Rick Calver`t,
Deputy Criminal Chief

 

    

 

    

 

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MARIA GALLEG D te
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Attorney for Defendant
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MARIA GALLEGOS SALAS Factual Resume - Page 3 |

Contents of this page agreed to by MARIA GALLEGOS SALAS: (initial)

 

 

